

Rodriguez v Kalata (2020 NY Slip Op 07324)





Rodriguez v Kalata


2020 NY Slip Op 07324


Decided on December 08, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 08, 2020

Before: Acosta, P.J., Gische, Oing, González, Kennedy, JJ. 


Index No. 100718/16 Appeal No. 12562 Case No. 2019-03508 

[*1]Evelyn Rodriguez, Plaintiff-Respondent,
vJoseph Kalata et al., Defendants-Appellants.


Michael J. Good, Brooklyn, for appellants.
Michael Stepper, New York, for respondent.



Judgment, Supreme Court, New York County (Barbara Jaffe, J.), entered August 6, 2019, which awarded plaintiff compensatory damages and treble damages, plus prejudgment interest thereon, unanimously modified, on the law, to vacate the award of prejudgment interest, and, as so modified, affirmed, without costs.
Having been awarded treble damages, plaintiff is not entitled to prejudgment interest (Grady v Hessert Realty L.P., 178 AD3d 401, 405 [1st Dept 2019], citing Mohassel v Fenwick, 5 NY3d 44, 50 [2005]).
Defendants' evidentiary arguments and arguments based on Matter of Regina Metro. Co., LLC v New York State Div. of Hous. &amp; Community Renewal (35 NY3d 332 [2020]) are foreclosed by the collateral estoppel effect given to a determination by the Division of Housing [*2]and Community Renewal that set the legal regulated rent (see Rodriguez v Kalata, 173 AD3d 554 [1st Dept 2019]), and are otherwise beyond the scope of the remand ordered in the prior appeal in this case (see id.; Wiener v Wiener, 10 AD3d 362, 363 [2d Dept 2004]). 
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 8, 2020








